                                                                     (Official Form 1) (04/07)
                                                                                                     United States Bankruptcy Court
                                                                                              Western District of Washington, Tacoma Division                                                                   Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                               Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Lucas, Linda Debra
                                                                      All Other Names used by the Debtor in the last 8 years                                   All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                              (include married, maiden, and trade names):
                                                                      Debbie Lucas


                                                                      Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more            Last four digits of Soc. Sec. No./Complete EIN or other Tax I.D. No. (if more
                                                                      than one, state all): 3201                                                               than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                         Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      2107 113th St E Space 64
                                                                      Tacoma, WA
                                                                                                                               ZIPCODE 98445-3786                                                                     ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                               County of Residence or of the Principal Place of Business:
                                                                      Pierce
                                                                      Mailing Address of Debtor (if different from street address)                             Mailing Address of Joint Debtor (if different from street address):


                                                                                                                               ZIPCODE                                                                                ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                      ZIPCODE
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                                                                                         Type of Debtor                                         Nature of Business                            Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                      (Check one box.)                               the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                            Health Care Business                                  Chapter 7              Chapter 15 Petition for
                                                                      üSee
                                                                       Individual (includes Joint Debtors)
                                                                           Exhibit D on page 2 of this form.
                                                                                                                                    Single Asset Real Estate as defined in 11
                                                                                                                                    U.S.C. § 101(51B)
                                                                                                                                                                                          Chapter 9
                                                                                                                                                                                          Chapter 11
                                                                                                                                                                                                                 Recognition of a Foreign
                                                                                                                                                                                                                 Main Proceeding
                                                                         Corporation (includes LLC and LLP)                         Railroad                                              Chapter 12             Chapter 15 Petition for
                                                                         Partnership
                                                                         Other (If debtor is not one of the above entities,
                                                                                                                                    Stockbroker
                                                                                                                                    Commodity Broker
                                                                                                                                                                                      ü   Chapter 13             Recognition of a Foreign
                                                                                                                                                                                                                 Nonmain Proceeding
                                                                         check this box and state type of entity below.)            Clearing Bank                                                           Nature of Debts
                                                                                                                                    Other                                                                   (Check one box)

                                                                                                                                               Tax-Exempt Entity
                                                                                                                                                                                      ü   Debts are primarily consumer
                                                                                                                                                                                         debts, defined in 11 U.S.C.
                                                                                                                                                                                                                            Debts are primarily
                                                                                                                                                                                                                            business debts.
                                                                                                                                            (Check box, if applicable.)                  § 101(8) as “incurred by an
                                                                                                                                    Debtor is a tax-exempt organization under            individual primarily for a
                                                                                                                                    Title 26 of the United States Code (the              personal, family, or house-
                                                                                                                                    Internal Revenue Code).                              hold purpose.”
                                                                                                  Filing Fee (Check one box)                                                               Chapter 11 Debtors:
                                                                                                                                                              Check one box:
                                                                      üFull Filing Fee attached                                                                 Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                                                Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                         Filing Fee to be paid in installments (Applicable to individuals only). Must
                                                                         attach signed application for the court’s consideration certifying that the debtor   Check if:
                                                                         is unable to pay fee except in installments. Rule 1006(b). See Official Form           Debtor’s aggregate noncontingent liquidated debts owed to non-insiders or
                                                                         3A.                                                                                    affiliates are less than $2,190,000.
                                                                                                                                                                -----------------------------------------------------
                                                                         Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must         Check all applicable boxes:
                                                                         attach signed application for the court’s consideration. See Official Form 3B.         A plan is being filed with this petition
                                                                                                                                                                Acceptances of the plan were solicited prepetition from one or more classes of
                                                                                                                                                                creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                      THIS SPACE IS FOR COURT USE ONLY
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be
                                                                         no funds available for distribution to unsecured creditors.
                                                                      Estimated Number of Creditors
                                                                        1-       50-     100-       200-           1,000-      5,001-       10,001-     25,001-      50,001-        Over
                                                                       49        99       199       999            5,000       10,000       25,000      50,000       100,000       100,000
                                                                        ü
                                                                      Estimated Assets
                                                                           $0 to               ü $10,000 to                   $100,000 to             $1 million               More than
                                                                           $10,000                  $100,000                  $1 million              $100 million             $100 million
                                                                      Estimated Liabilities
                                                                           $0 to               ü $50,000 to                   $100,000 to             $1 million               More than
                                                                           $50,000                  $100,000                  $1 million              $100 million             $100 million

                                                                     VOLUNTARY PETITION


                                                                                   Case 07-42489-PBS                          Doc 1         Filed 08/06/07              Ent. 08/06/07 11:38:58                    Pg. 1 of 36
                                                                     (Official Form 1) (04/07)                                                                                                                 FORM B1, Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Lucas, Linda Debra

                                                                                             Prior Bankruptcy Case Filed Within Last 8 Years (If more than one, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                          Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by § 342(b) of the
                                                                                                                                                     Bankruptcy Code.
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                                                                                                                                                     X /s/ BRETT L. WITTNER                                             8/06/07
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                      Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                        (Name of landlord or lessor that obtained judgment)

                                                                                                                                    (Address of landlord or lessor)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                              entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the filing
                                                                              of the petition.

                                                                     VOLUNTARY PETITION


                                                                                  Case 07-42489-PBS                  Doc 1        Filed 08/06/07             Ent. 08/06/07 11:38:58                      Pg. 2 of 36
                                                                     (Official Form 1) (04/07)                                                                                                                            FORM B1, Page 3
                                                                     Voluntary Petition                                                            Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                        Lucas, Linda Debra

                                                                                                                                             Signatures

                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                     Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this     I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts     in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed        (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United State Code, understand
                                                                                                                                                        I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                        States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                        § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §         Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                           chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States        order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                   X
                                                                      X /s/ Linda Debra Lucas                                                           Signature of Foreign Representative
                                                                          Signature of Debtor                                  Linda Debra Lucas   X
                                                                      X                                                                                 Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                        Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          August 6, 2007
                                                                          Date


                                                                                                      Signature of Attorney                                       Signature of Non-Attorney Petition Preparer
                                                                                                                                                   I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X /s/ BRETT L. WITTNER                                                       preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                      compensation and have provided the debtor with a copy of this document
                                                                          BRETT L. WITTNER 27657                                                   and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Printed Name of Attorney for Debtor(s)                                   110(h) and 342(b); 3) if rules or guidelines have been promulgated
                                                                                                                                                   pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          Kent & Wittner, P.S.                                                     chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Firm Name
                                                                                                                                                   notice of the maximum amount before preparing any document for filing
                                                                          4301 S. PINE, SUITE 629                                                  for a debtor or accepting any fee from the debtor, as required in that
                                                                          Address                                                                  section. Official Form 19B is attached.
                                                                          TACOMA, WA 98409
                                                                                                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer

                                                                          (253) 473-7200                                                           Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                          Telephone Number                                                         Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                   bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          August 6, 2007
                                                                          Date
                                                                                                                                                   Address

                                                                                    Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct, and that I have been authorized to file this   X
                                                                      petition on behalf of the debtor.                                                 Signature of Bankruptcy Petition Preparer or officer, principal, responsible person, or
                                                                                                                                                        partner whose social security number is provided above.

                                                                      The debtor requests relief in accordance with the chapter of title 11,
                                                                      United States Code, specified in this petition.                                   Date

                                                                                                                                                   Names and Social Security numbers of all other individuals who
                                                                      X                                                                            prepared or assisted in preparing this document unless the bankruptcy
                                                                          Signature of Authorized Individual                                       petition preparer is not an individual:

                                                                          Printed Name of Authorized Individual
                                                                                                                                                   If more than one person prepared this document, attach additional
                                                                          Title of Authorized Individual                                           sheets conforming to the appropriate official form for each person.
                                                                                                                                                   A bankruptcy petition preparer’s failure to comply with the provisions
                                                                          Date                                                                     of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                                                                                   in fines or imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.

                                                                     VOLUNTARY PETITION


                                                                                    Case 07-42489-PBS                         Doc 1   Filed 08/06/07         Ent. 08/06/07 11:38:58                           Pg. 3 of 36
                                                                     Official Form 1, Exhibit D (10/06)
                                                                                                                    United States Bankruptcy Court
                                                                                                             Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                           Case No.
                                                                     Lucas, Linda Debra                                                                               Chapter 13
                                                                                                                Debtor(s)

                                                                                               EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                         WITH CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 15 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the five
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Must be accompanied by a motion for determination by the court.][Summarize exigent
                                                                     circumstances here.]




                                                                     If the court is satisfied with the reasons stated in your motion, it will send you an order approving your request. You must still
                                                                     obtain the credit counseling briefing within the first 30 days after you file your bankruptcy case and promptly file a certificate from
                                                                     the agency that provided the briefing, together with a copy of any debt management plan developed through the agency. Any
                                                                     extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension must
                                                                     be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of your case. If the court is not
                                                                     satisfied with your reasons for filing your bankruptcy case without first receiving a credit counseling briefing, your case may be
                                                                     dismissed.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ Linda Debra Lucas
                                                                     Date: August 6, 2007



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                                                                     Official Form 6 - Summary (10/06)
                                                                                                                            United States Bankruptcy Court
                                                                                                                     Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                                                Case No.
                                                                     Lucas, Linda Debra                                                                                                    Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                   SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                 ATTACHED           NUMBER OF
                                                                      NAME OF SCHEDULE
                                                                                                                                  (YES/NO)            SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                               Yes                          1 $                  0.00



                                                                      B - Personal Property                                           Yes                          2 $          70,705.25



                                                                      C - Property Claimed as Exempt                                  Yes                          1
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                                                                      D - Creditors Holding Secured Claims                            Yes                          1                           $           3,139.07


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                      Yes                          2                           $              600.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                      Yes                          5                            $         79,419.35
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                      Yes                          1
                                                                          Leases


                                                                      H - Codebtors                                                   Yes                          1


                                                                      I - Current Income of Individual
                                                                                                                                      Yes                          1                                                     $           1,750.00
                                                                          Debtor(s)

                                                                       J - Current Expenditures of Individual
                                                                                                                                      Yes                          1                                                     $           1,510.00
                                                                           Debtor(s)


                                                                                                                                      TOTAL                      16 $           70,705.25 $               83,158.42




                                                                     SUMMARY OF SCHEDULES


                                                                                   Case 07-42489-PBS                      Doc 1         Filed 08/06/07                 Ent. 08/06/07 11:38:58                   Pg. 5 of 36
                                                                     Official Form 6 - Statistical Summary (10/06)
                                                                                                                         United States Bankrupcty Court
                                                                                                                  Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                       Case No.
                                                                     Lucas, Linda Debra                                                                           Chapter 13
                                                                                                                       Debtor(s)

                                                                              STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                     If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C. §
                                                                     101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                        Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                     information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $          0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E) (whether
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                                                                      disputed or undisputed)                                                                           $       600.00

                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E)                $          0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $      4,500.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $          0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $          0.00

                                                                                                                                                              TOTAL     $      5,100.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 16)                                                         $      1,750.00

                                                                      Average Expenses (from Schedule J, Line 18)                                                       $      1,510.00

                                                                      Current Monthly Income (from Form 22A Line 12; OR, Form 22B Line 11; OR, Form 22C
                                                                      Line 20 )                                                                                         $       535.64


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                        $        21.95

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $       600.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                          $         0.00

                                                                      4. Total from Schedule F                                                                                            $   79,419.35

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                        $   79,441.30




                                                                     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)


                                                                                  Case 07-42489-PBS                    Doc 1        Filed 08/06/07   Ent. 08/06/07 11:38:58     Pg. 6 of 36
                                                                                                                                                  United States Bankruptcy Court
                                                                                                                                           Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Lucas, Linda Debra                                                                                                                                                         Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               1,800.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   1,800.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                                Debtor       üOther (specify): Through Trustee as Admin. Expense
                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            Representation in adversary proceedings, contested motions, post-petition services; Appearance at continued meeting of
                                                                            creditors due to debtor(s) failure to attend




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                   August 6, 2007                                                   /s/ BRETT L. WITTNER
                                                                                                               Date                                                                                                             Signature of Attorney

                                                                                                                                                                    Kent & Wittner, P.S.
                                                                                                                                                                                                                                  Name of Law Firm

                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR


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                                                                                                                  UNITED STATES BANKRUPTCY COURT

                                                                                                 NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                                                                                                        OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available
                                                                              from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
                                                                              bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you
                                                                              that the Attorney General may examine all information you supply in connection with a bankruptcy case. You
                                                                              are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                              advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court
                                                                              employees cannot give you legal advice.

                                                                     1. Services Available from Credit Counseling Agencies
                                                                     With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
                                                                     relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
                                                                     provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy
                                                                     filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet)
                                                                     and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy
                                                                     administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling
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                                                                     agencies.
                                                                     In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
                                                                     instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
                                                                     instructional courses.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
                                                                     Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)
                                                                     1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
                                                                     whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case should be
                                                                     permitted to proceed under chapter 7. If your income is greater than the median income for your state of residence and family
                                                                     size, in some cases, creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the
                                                                     Code. It is up to the court to decide whether the case should be dismissed.
                                                                     2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
                                                                     take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
                                                                     3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
                                                                     committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if
                                                                     it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                     4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
                                                                     be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
                                                                     settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel,
                                                                     or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of
                                                                     fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not
                                                                     discharged.

                                                                     Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
                                                                     administrative fee: Total fee $274)
                                                                     1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in instalments
                                                                     over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
                                                                     Bankruptcy Code.
                                                                     2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE


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                                                                     using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending
                                                                     upon your income and other factors. The court must approve your plan before it can take effect.
                                                                     3. After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
                                                                     secured obligations.

                                                                     Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
                                                                     Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                     quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                     Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
                                                                     Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future
                                                                     earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income
                                                                     arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
                                                                     A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
                                                                     orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied
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                                                                     by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office
                                                                     of the United States Trustee, the Office of the United States Attorney, and other components and employees of the Department
                                                                     of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
                                                                     creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
                                                                     information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
                                                                     local rules of the court.

                                                                                                         Certificate of [Non-Attorney] Bankruptcy Petition Preparer
                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor this notice
                                                                     required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                        Social Security number (If the bankruptcy
                                                                     Address:                                                                                               petition preparer is not an individual, state
                                                                                                                                                                            the Social Security number of the officer,
                                                                                                                                                                            principal, responsible person, or partner of
                                                                                                                                                                            the bankruptcy petition preparer.)
                                                                                                                                                                            (Required by 11 U.S.C. § 110.)
                                                                     X
                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                                Certificate of the Debtor
                                                                     I (We), the debtor(s), affirm that I (we) have received and read this notice.



                                                                     Lucas, Linda Debra                                                           X /s/ Linda Debra Lucas                                      8/06/2007
                                                                     Printed Name(s) of Debtor(s)                                                     Signature of Debtor                                           Date


                                                                     Case No. (if known)                                                          X
                                                                                                                                                      Signature of Joint Debtor (if any)                            Date



                                                                     NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b) OF THE BANKRUPTCY CODE


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                                                                     IN RE Lucas, Linda Debra                                                                                                Case No.
                                                                                                                                Debtor(s)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                       Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant , community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint or “C” for Community in the column labeled
                                                                     “HWJC.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                                                                                                                   CURRENT VALUE OF
                                                                                                                                                                                             H    DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S        W     PROPERTY WITHOUT         AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY       J       DEDUCTING ANY               CLAIM
                                                                                                                                                                                             C     SECURED CLAIM OR
                                                                                                                                                                                                       EXEMPTION

                                                                     None
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                                                                                                                                                                                     TOTAL                         0.00
                                                                                                                                                                                                 (Report also on Summary of Schedules)
                                                                     SCHEDULE A - REAL PROPERTY


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                                                                     IN RE Lucas, Linda Debra                                                                                               Case No.
                                                                                                                                 Debtor(s)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing an “H” for Husband, “W” for Wife, “J” for Joint,
                                                                     or “C” for Community in the column labeled “HWJC.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule
                                                                     C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” In providing the
                                                                     information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

                                                                                                                                                                                                                            CURRENT VALUE OF
                                                                                                                       N                                                                                              H    DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                              W     PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                              J       DEDUCTING ANY
                                                                                                                       E                                                                                              C     SECURED CLAIM OR
                                                                                                                                                                                                                                EXEMPTION

                                                                        1. Cash on hand.                               X
                                                                        2. Checking, savings or other financial            Debtor has no open bank accounts                                                                                 0.00
                                                                           accounts, certificates of deposit, or
                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
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                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Misc. household goods and furnishings                                                                      3,000.00
                                                                           include audio, video, and computer              Sofa, loveseat, chair, coffee table set and lamps                                                             900.00
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Misc. wearing apparel                                                                                         300.00
                                                                        7. Furs and jewelry.                               Misc. jewelry                                                                                              1,000.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(3). 11
                                                                          U.S.C. § 521(c); Rule 1007(b)).
                                                                      12. Interests in IRA, ERISA, Keogh, or               IRA                                                                                                              5.25
                                                                          other pension or profit sharing plans.
                                                                          Itemize.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                      15. Government and corporate bonds and           X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                         X



                                                                     SCHEDULE B - PERSONAL PROPERTY


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                                                                     IN RE Lucas, Linda Debra                                                                                   Case No.
                                                                                                                            Debtor(s)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)

                                                                                                                                                                                                           CURRENT VALUE OF
                                                                                                                     N                                                                               H    DEBTOR'S INTEREST IN
                                                                                                                     O                                                                               W     PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                      DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                               J       DEDUCTING ANY
                                                                                                                     E                                                                               C     SECURED CLAIM OR
                                                                                                                                                                                                               EXEMPTION

                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owing debtor        X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule of Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
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                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) in customer lists or similar
                                                                          compilations provided to the debtor
                                                                          by individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1998 Acura CL 3.0 L                                                                         5,500.00
                                                                          other vehicles and accessories.
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                      33. Farming equipment and implements.          X
                                                                      34. Farm supplies, chemicals, and feed.        X
                                                                      35. Other personal property of any kind            Mobile home located at 2107 113th St E, Sp 64, Tacoma, WA                                 60,000.00
                                                                          not already listed. Itemize.                   98445




                                                                                                                                                                                              TOTAL                70,705.25
                                                                                                                                                                          (Include amounts from any continuation sheets attached.
                                                                              0 continuation sheets attached                                                                         Report total also on Summary of Schedules.)
                                                                     SCHEDULE B - PERSONAL PROPERTY


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                                                                     IN RE Lucas, Linda Debra                                                                                         Case No.
                                                                                                                               Debtor(s)

                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $136,875.
                                                                     (Check one box)
                                                                           11 U.S.C. § 522(b)(2)
                                                                        ü11 U.S.C. § 522(b)(3)
                                                                                                                                                                                                                     CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED          OF PROPERTY
                                                                                         DESCRIPTION OF PROPERTY                           SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION           WITHOUT DEDUCTING
                                                                                                                                                                                                                      EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Misc. household goods and furnishings                        RCW 6.15.010(3)(a)                                                  2,700.00               3,000.00
                                                                                                                                  RCW 6.15.010(3)(b)                                                    300.00
                                                                     Misc. wearing apparel                                        RCW 6.15.010(1)                                                        100%                    300.00
                                                                     Misc. jewelry                                                RCW 6.15.010(1)                                                     1,000.00               1,000.00
                                                                     IRA                                                          RCW 6.15.020(3)                                                        100%                      5.25
                                                                     1998 Acura CL 3.0 L                                          RCW 6.15.010(3)(c)                                                  2,500.00               5,500.00
                                                                                                                                  RCW 6.15.010(3)(b)                                                    782.88
                                                                     Mobile home located at 2107 113th St E, Sp RCW 6.13.030                                                                        60,000.00               60,000.00
                                                                     64, Tacoma, WA 98445
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                                                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


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                                                                     Official Form 6D (10/06)

                                                                     IN RE Lucas, Linda Debra                                                                                                                    Case No.
                                                                                                                                  Debtor(s)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                     State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the date
                                                                     of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor
                                                                     chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security
                                                                     interests.

                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See
                                                                     11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet of
                                                                     the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and, if the
                                                                     debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities
                                                                     and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                               OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                                                                                                                AMOUNT OF
                                                                                                                                 CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                               DATE CLAIM WAS INCURRED,                                                      CLAIM WITHOUT
                                                                                                                                                                                                                                                                                UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                     NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                             DEDUCTING
                                                                                                                                                                                                                                                                              PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                 PROPERTY SUBJECT TO LIEN                                                        VALUE OF
                                                                                                                                                                                                                                                               COLLATERAL




                                                                     ACCOUNT NO. 15041092                                                                           1998 Acura 30 CL                                                                              2,217.12
                                                                     American General Finance
                                                                     10202 Pacific Ave S Ste 103
                                                                     Tacoma, WA 98444-6573

                                                                                                                                                                    VALUE $ 5,500.00

                                                                     ACCOUNT NO.                                                                                    Sofa, loveseat, chair, coffee table and                                                         921.95             21.95
                                                                     American General Finance                                                                       lamp set; 6/06
                                                                     10202 Pacific Ave S Ste 103
                                                                     Tacoma, WA 98444-6573

                                                                                                                                                                    VALUE $ 900.00

                                                                     ACCOUNT NO.




                                                                                                                                                                    VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                    VALUE $
                                                                                                                                                                                                                        Subtotal
                                                                            0 continuation sheets attached                                                                                                  (Total of this page) $                                3,139.07 $           21.95
                                                                                                                                                                                                                      Total
                                                                                                                                                        (Use only on last page of the completed Schedule D. Report also on
                                                                                                                                                            the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                          Summary of Certain Liabilities and Related Data.) $                                     3,139.07 $           21.95


                                                                     SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS


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                                                                     Official Form 6E (04/07)

                                                                     IN RE Lucas, Linda Debra                                                                                                     Case No.
                                                                                                                                   Debtor(s)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                     A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to priority
                                                                     should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account number,
                                                                     if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for
                                                                     each type of priority and label each with the type of priority.

                                                                     The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112. If “a minor child” is stated, also include the
                                                                     name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                     Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                     Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed on
                                                                     this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under chapter 7
                                                                     or 13 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts who file a case under
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                                                                     chapter 7 report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes,
                                                                       Taxes and Certain Other Debts Owed to Governmental Units
                                                                              customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                          * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached


                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


                                                                                   Case 07-42489-PBS                        Doc 1           Filed 08/06/07                Ent. 08/06/07 11:38:58                       Pg. 15 of 36
                                                                     Official Form 6E (04/07) - Cont.

                                                                     IN RE Lucas, Linda Debra                                                                                                                                                              Case No.
                                                                                                                                                    Debtor(s)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                               (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                                                                                                                                           AMOUNT




                                                                                                                                                                                                                    CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                                DISPUTED
                                                                                                                                                                                                                                                                            AMOUNT            NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                 AMOUNT
                                                                                                                                                                 DATE CLAIM WAS INCURRED                                                                                    ENTITLED       ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                OF
                                                                                                                                                               AND CONSIDERATION FOR CLAIM                                                                                     TO              TO
                                                                                   (See Instructions above.)                                                                                                                                                 CLAIM
                                                                                                                                                                                                                                                                            PRIORITY       PRIORITY,
                                                                                                                                                                                                                                                                                            IF ANY




                                                                     ACCOUNT NO.                                                                           2006 taxes
                                                                     IRS
                                                                     PO Box 21126
                                                                     Philadelphia, PA 19114-0326

                                                                                                                                                                                                                                                               600.00           600.00
                                                                                                                                                           Personal property taxes
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                                                                     ACCOUNT NO.
                                                                     Pierce County Assessor
                                                                     2401 S 35th St
                                                                     Tacoma, WA 98409-7499

                                                                                                                                                                                                                                                                 0.00
                                                                     ACCOUNT NO.                                                                           Assignee or other notification
                                                                     Pierce County Budget & Finance                                                        for:
                                                                     PO Box 11621                                                                          Pierce County Assessor
                                                                     Tacoma, WA 98411-6621



                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                           Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                    (Totals of this page) $                                        600.00 $         600.00 $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $                                                                            600.00
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                  $       600.00 $

                                                                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS


                                                                                  Case 07-42489-PBS                       Doc 1                                Filed 08/06/07                       Ent. 08/06/07 11:38:58                                                  Pg. 16 of 36
                                                                     Official Form 6F (10/06)

                                                                     IN RE Lucas, Linda Debra                                                                                                                     Case No.
                                                                                                                                 Debtor(s)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                     State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name.
                                                                     See 11 U.S.C. § 112. If “a minor child” is stated, also include the name, address, and legal relationship to the minor child of a person described in Fed. R. Bankr. P. 1007(m).
                                                                     Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                     If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate schedule
                                                                     of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable on each
                                                                     claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                     If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                     Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules
                                                                     and, if the debtor is an individual with primarily consumer debts filing a case under chapter 7, report this total also on the Statistical Summary of Certain Liabilities and
                                                                     Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
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                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                          Balance owed on stolen check                                                                 X
                                                                     Ace Cash Express
                                                                     PO Box 650448
                                                                     Dallas, TX 75265-0448

                                                                                                                                                                                                                                                                                     290.00
                                                                     ACCOUNT NO.                                                                                          Student loan
                                                                     ACS
                                                                     PO Box 7051
                                                                     Utica, NY 13504-7051

                                                                                                                                                                                                                                                                                   4,500.00
                                                                     ACCOUNT NO.                                                                                          Collections for Credit First
                                                                     Alliance One
                                                                     1684 Woodlands Dr Ste 150
                                                                     Maumee, OH 43537-4026

                                                                                                                                                                                                                                                                                     386.05
                                                                     ACCOUNT NO. 3723-797764-76002                                                                        Balance owed on stolen credit card                                                           X
                                                                     American Express
                                                                     PO Box 5207
                                                                     Fort Lauderdale, FL 33310-5207

                                                                                                                                                                                                                                                                                   5,655.21
                                                                                                                                                                                                                                           Subtotal
                                                                            4 continuation sheets attached                                                                                                                     (Total of this page) $                             10,831.26
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $




                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                                  Case 07-42489-PBS                        Doc 1                  Filed 08/06/07                            Ent. 08/06/07 11:38:58                   Pg. 17 of 36
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                                                                     IN RE Lucas, Linda Debra                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Amount due on stolen checks                                                                  X
                                                                     Bank Of America
                                                                     Unit Fraud
                                                                     PO Box 53137
                                                                     Phoenix, AZ 85072-3137
                                                                                                                                                                                                                                                                                17,000.00
                                                                     ACCOUNT NO. 4264-2932-8099-8166                                                                    Balance owed on stolen credit card                                                           X
                                                                     Bank Of America
                                                                     PO Box 15286
                                                                     Wilmington, DE 19886-5286
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                                                                                                                                                                                                                                                                                12,000.00
                                                                     ACCOUNT NO.                                                                                        Collection for T-Mobile/Qwest; 2007
                                                                     Bay Area Credit Service LLC
                                                                     50 Airport Pkwy Ste 100
                                                                     San Jose, CA 95110-3722

                                                                                                                                                                                                                                                                                 1,114.59
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Qwest                                                                                              Bay Area Credit Service LLC
                                                                     PO Box 91155
                                                                     Seattle, WA 98111-9255



                                                                     ACCOUNT NO.                                                                                        Amount due on stolen checks                                                                  X
                                                                     Capital Recovery
                                                                     PO Box 67555
                                                                     Harrisburg, PA 17106-7555

                                                                                                                                                                                                                                                                                    46.92
                                                                     ACCOUNT NO.                                                                                        Balance due on stolen checks                                                                 X
                                                                     Clear Check Payment Solutions
                                                                     PO Box 27087
                                                                     Greenville, SC 29616-2087

                                                                                                                                                                                                                                                                                   120.00
                                                                     ACCOUNT NO.                                                                                        Amount owed on stolen checks                                                                 X
                                                                     Commercial Check Control
                                                                     7250 Beverly Blvd Ste 200
                                                                     Los Angeles, CA 90036-2560

                                                                                                                                                                                                                                                                                 2,039.65
                                                                     Sheet no.       1 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             32,321.16
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


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                                                                     IN RE Lucas, Linda Debra                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 2381                                                                                   Collections for Parkland Dentistry; 2006 - 2007
                                                                     Commercial Creditors
                                                                     PO Box 5155
                                                                     Tacoma, WA 98415-0155

                                                                                                                                                                                                                                                                                 1,600.00
                                                                     ACCOUNT NO.                                                                                        Balance owed on stolen checks                                                                X
                                                                     Cost Less Prescriptions
                                                                     5431 Pacific Ave
                                                                     Tacoma, WA 98408-7639
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                                                                                                                                                                                                                                                                                   340.00
                                                                     ACCOUNT NO. 6011-0094-7922-9614                                                                    Consumer credit (judgment)
                                                                     Discover
                                                                     C/O Bishop, White & Marshall, P.S.
                                                                     PO Box 2186
                                                                     Seattle, WA 98111-2186
                                                                                                                                                                                                                                                                                 8,978.00
                                                                     ACCOUNT NO. 603717228                                                                              Purchases; 2007
                                                                     First National Assoc.
                                                                     PO Box 81344
                                                                     Cleveland, OH 44188-0001

                                                                                                                                                                                                                                                                                   378.68
                                                                     ACCOUNT NO.                                                                                        Medical services; 2007
                                                                     Franciscan Health System
                                                                     Patient Accounting Services
                                                                     PO Box 2197
                                                                     Tacoma, WA 98401-2197
                                                                                                                                                                                                                                                                                 3,320.00
                                                                     ACCOUNT NO.                                                                                        Balance on stolen checks and ATM usage with                                                  X
                                                                     Harborstone Credit Union                                                                           stolen card and fake deposits
                                                                     PO Box 4207
                                                                     McChord Afb, WA 98438-0207

                                                                                                                                                                                                                                                                                 5,185.00
                                                                     ACCOUNT NO.                                                                                        Assignee or other notification for:
                                                                     Harborstone Credit Union                                                                           Harborstone Credit Union
                                                                     Card Processing Center Fraud Division
                                                                     250 Johnson Rd
                                                                     Morris Plains, NJ 07950-2926

                                                                     Sheet no.       2 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             19,801.68
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                                  Case 07-42489-PBS                     Doc 1                   Filed 08/06/07                            Ent. 08/06/07 11:38:58                   Pg. 19 of 36
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                                                                     IN RE Lucas, Linda Debra                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                              AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                         OF
                                                                                         (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                             CLAIM




                                                                     ACCOUNT NO. 5467-0200-0451-8497                                                                    Balance owing on stolen credit card                                                          X
                                                                     Household Credit Services
                                                                     PO Box 80027
                                                                     Salinas, CA 93912-0027

                                                                                                                                                                                                                                                                                12,000.00
                                                                     ACCOUNT NO.                                                                                        Balance on stolen checks                                                                     X
                                                                     Kroger Check Recovery
                                                                     PO Box 30650
                                                                     Salt Lake City, UT 84130-0650
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                                                                                                                                                                                                                                                                                   350.00
                                                                     ACCOUNT NO. LA10539                                                                                Medical services; 2007
                                                                     Lakes Anesthesia
                                                                     PO Box 64768
                                                                     Tacoma, WA 98464-0768

                                                                                                                                                                                                                                                                                    61.00
                                                                     ACCOUNT NO. 305-04695                                                                              Services & Purchases; 2007
                                                                     Les Schwab
                                                                     3809 Steilacoom Blvd SW
                                                                     Lakewood, WA 98499-4551

                                                                                                                                                                                                                                                                                   264.24
                                                                     ACCOUNT NO. 48-703-785-673-0                                                                       Consumer credit
                                                                     Macys
                                                                     PO Box 6938
                                                                     The Lakes, NV 88901-6938

                                                                                                                                                                                                                                                                                   988.14
                                                                     ACCOUNT NO.                                                                                        Loan; 5/07
                                                                     Money Tree
                                                                     PO Box 523
                                                                     Richfield, OH 44286-0523

                                                                                                                                                                                                                                                                                   220.00
                                                                     ACCOUNT NO.                                                                                        Amount due on stolen checks                                                                  X
                                                                     Multicare
                                                                     PO Box 5299
                                                                     Tacoma, WA 98415-0299

                                                                                                                                                                                                                                                                                    28.81
                                                                     Sheet no.       3 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                             13,912.19
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                                  Case 07-42489-PBS                     Doc 1                   Filed 08/06/07                            Ent. 08/06/07 11:38:58                   Pg. 20 of 36
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                                                                     IN RE Lucas, Linda Debra                                                                                                                   Case No.
                                                                                                                              Debtor(s)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                  (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                      UNLIQUIDATED
                                                                                                                                                                                                                                         CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                     DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO.                                                                                        Collections for St. Clare; 2007
                                                                     NCO
                                                                     PO Box 15270
                                                                     Wilmington, DE 19850-5270

                                                                                                                                                                                                                                                                                 2,089.57
                                                                     ACCOUNT NO.                                                                                        Medical services; 2005
                                                                     Puget Sound Pathology
                                                                     PO Box 34245
                                                                     Seattle, WA 98124-1245
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                                                                                                                                                                                                                                                                                    65.76
                                                                     ACCOUNT NO.                                                                                        Collections for InPhonic cell phone; 2006
                                                                     SKO Bremmer American Inc.
                                                                     PO Box 230
                                                                     Farmingdale, NY 11735-0230

                                                                                                                                                                                                                                                                                   250.00
                                                                     ACCOUNT NO.                                                                                        Amount owed on stolen checks                                                                 X
                                                                     TRS Recovery Dept.
                                                                     PO Box 4857
                                                                     Houston, TX 77210-4857

                                                                                                                                                                                                                                                                                   147.73
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       4 of        4 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              2,553.06
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                             79,419.35
                                                                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS


                                                                                  Case 07-42489-PBS                     Doc 1                   Filed 08/06/07                            Ent. 08/06/07 11:38:58                   Pg. 21 of 36
                                                                     IN RE Lucas, Linda Debra                                                                                                    Case No.
                                                                                                                                  Debtor(s)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                     Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in contract,
                                                                     i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or
                                                                     contract described. If a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C.
                                                                     § 112; Fed.R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                       DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                           STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                             STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES


                                                                                   Case 07-42489-PBS                        Doc 1          Filed 08/06/07                Ent. 08/06/07 11:38:58                       Pg. 22 of 36
                                                                     IN RE Lucas, Linda Debra                                                                                              Case No.
                                                                                                                               Debtor(s)

                                                                                                                                   SCHEDULE H - CODEBTORS
                                                                     Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by debtor in the schedules of
                                                                     creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                               NAME AND ADDRESS OF CODEBTOR                                                           NAME AND ADDRESS OF CREDITOR
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                                                                     SCHEDULE H - CODEBTORS


                                                                                  Case 07-42489-PBS                      Doc 1          Filed 08/06/07              Ent. 08/06/07 11:38:58                     Pg. 23 of 36
                                                                     Official Form 6I (10/06)

                                                                     IN RE Lucas, Linda Debra                                                                                             Case No.
                                                                                                                               Debtor(s)

                                                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                     The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is filed, unless the spouses
                                                                     are separated and a joint petition is not filed. Do not state the name of any minor child.

                                                                      Debtor's Marital Status                                                            DEPENDENTS OF DEBTOR AND SPOUSE
                                                                      Divorced                                    RELATIONSHIP(S):                                                                                             AGE(S):
                                                                                                                  Son                                                                                                          32




                                                                      EMPLOYMENT:                                            DEBTOR                                                                      SPOUSE
                                                                      Occupation                Charter Bus Driver
                                                                      Name of Employer          Laidlaw
                                                                      How long employed
                                                                      Address of Employer
                                                                                                Tacoma, WA

                                                                     INCOME: (Estimate of average or projected monthly income at time case filed)                                                           DEBTOR                            SPOUSE
                                                                     1. Current monthly gross wages, salary, and commissions (prorate if not paid monthly)                                    $               1,350.00 $
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                                                                     2. Estimated monthly overtime                                                                                            $                               $
                                                                     3. SUBTOTAL                                                                                                              $               1,350.00 $
                                                                     4. LESS PAYROLL DEDUCTIONS
                                                                       a. Payroll taxes and Social Security                                                                                   $                               $
                                                                       b. Insurance                                                                                                           $                               $
                                                                       c. Union dues                                                                                                          $                               $
                                                                       d. Other (specify)                                                                                                     $                               $
                                                                                                                                                                                              $                               $
                                                                     5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                        $                       0.00 $
                                                                     6. TOTAL NET MONTHLY TAKE HOME PAY                                                                                       $               1,350.00 $

                                                                     7. Regular income from operation of business or profession or farm (attach detailed statement) $                                                         $
                                                                     8. Income from real property                                                                   $                                                         $
                                                                     9. Interest and dividends                                                                      $                                                         $
                                                                     10. Alimony, maintenance or support payments payable to the debtor for the debtor’s use or
                                                                     that of dependents listed above                                                                $                                                         $
                                                                     11. Social Security or other government assistance
                                                                       (Specify)                                                                                    $                                                         $
                                                                                                                                                                    $                                                         $
                                                                     12. Pension or retirement income                                                               $                                                         $
                                                                     13. Other monthly income
                                                                       (Specify) Room & Board Income                                                                $                                             400.00 $
                                                                                                                                                                    $                                                         $
                                                                                                                                                                    $                                                         $

                                                                     14. SUBTOTAL OF LINES 7 THROUGH 13                                                                                       $                   400.00 $
                                                                     15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                                         $               1,750.00 $

                                                                     16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15;
                                                                     if there is only one debtor repeat total reported on line 15)                                                                            $                1,750.00
                                                                                                                                                                                              (Report also on Summary of Schedules and, if applicable, on
                                                                                                                                                                                              Statistical Summary of Certain Liabilities and Related Data)

                                                                     17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
                                                                     Debtor has just accepted new employment with Laidlaw. The job pays $11/hr with 30 hrs per week guaranteed. Debtor
                                                                     hopes to have additional hours when available.


                                                                     SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)


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                                                                     Official Form 6J (10/06)

                                                                     IN RE Lucas, Linda Debra                                                                                              Case No.
                                                                                                                               Debtor(s)

                                                                                                SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate any payments made biweekly,
                                                                     quarterly, semi-annually, or annually to show monthly rate.

                                                                        Check this box if a joint petition is filed and debtor’s spouse maintains a separate household. Complete a separate schedule of
                                                                     expenditures labeled “Spouse.”

                                                                     1. Rent or home mortgage payment (include lot rented for mobile home)                                                                              $              430.00
                                                                         a. Are real estate taxes included? Yes      No ü
                                                                         b. Is property insurance included? Yes      No ü
                                                                     2. Utilities:
                                                                         a. Electricity and heating fuel                                                                                                                $              150.00
                                                                         b. Water and sewer                                                                                                                             $               50.00
                                                                         c. Telephone                                                                                                                                   $               40.00
                                                                         d. Other Garbage                                                                                                                               $               50.00
                                                                                                                                                                                                                        $
                                                                     3. Home maintenance (repairs and upkeep)                                                                                                           $               50.00
                                                                     4. Food                                                                                                                                            $              250.00
                                                                     5. Clothing                                                                                                                                        $               50.00
                                                                     6. Laundry and dry cleaning                                                                                                                        $
                                                                     7. Medical and dental expenses                                                                                                                     $               50.00
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                                                                     8. Transportation (not including car payments)                                                                                                     $              100.00
                                                                     9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                                                $               50.00
                                                                     10. Charitable contributions                                                                                                                       $
                                                                     11. Insurance (not deducted from wages or included in home mortgage payments)
                                                                         a. Homeowner’s or renter’s                                                                                                                     $                22.00
                                                                         b. Life                                                                                                                                        $
                                                                         c. Health                                                                                                                                      $
                                                                         d. Auto                                                                                                                                        $
                                                                         e. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     12. Taxes (not deducted from wages or included in home mortgage payments)
                                                                         (Specify) IRS Taxes                                                                                                                            $                50.00
                                                                                      Property Taxes                                                                                                                    $                41.00
                                                                     13. Installment payments: (in chapter 11, 12 and 13 cases, do not list payments to be included in the plan)
                                                                         a. Auto                                                                                                                                        $                98.00
                                                                         b. Other                                                                                                                                       $
                                                                                                                                                                                                                        $
                                                                     14. Alimony, maintenance, and support paid to others                                                                                               $
                                                                     15. Payments for support of additional dependents not living at your home                                                                          $
                                                                     16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                                                   $
                                                                     17. Other Misc. Expenses                                                                                                                           $                29.00
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                        $

                                                                     18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and, if
                                                                     applicable, on the Statistical Summary of Certain Liabilities and Related Data.                                                                    $            1,510.00


                                                                     19. Describe any increase or decrease in expenditures anticipated to occur within the year following the filing of this document:
                                                                     None




                                                                     20. STATEMENT OF MONTHLY NET INCOME
                                                                         a. Average monthly income from Line 15 of Schedule I                                                                                           $            1,750.00
                                                                         b. Average monthly expenses from Line 18 above                                                                                                 $            1,510.00
                                                                         c. Monthly net income (a. minus b.)                                                                                                            $              240.00

                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)


                                                                                  Case 07-42489-PBS                      Doc 1         Filed 08/06/07               Ent. 08/06/07 11:38:58                     Pg. 25 of 36
                                                                     Official Form 6 - Declaration (10/06)

                                                                     IN RE Lucas, Linda Debra                                                                                     Case No.
                                                                                                                              Debtor(s)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                    DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of       18 sheets (total shown on
                                                                     summary page plus 2), and that they are true and correct to the best of my knowledge, information, and belief.

                                                                     Date: August 6, 2007                               Signature: /s/ Linda Debra Lucas
                                                                                                                                                                                                                                                Debtor
                                                                                                                                      Linda Debra Lucas

                                                                     Date:                                              Signature:
                                                                                                                                                                                                                                  (Joint Debtor, if any)
                                                                                                                                                                                        [If joint case, both spouses must sign.]

                                                                                 DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                    Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                   Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                   DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                              Signature:


                                                                                                                                                                                          (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                       Penalty for making a false statement or concealing property. Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                     DECLARATION CONCERNING DEBTOR'S SCHEDULES


                                                                                  Case 07-42489-PBS                     Doc 1         Filed 08/06/07           Ent. 08/06/07 11:38:58                     Pg. 26 of 36
                                                                     Official Form 7 (04/07)
                                                                                                                         United States Bankruptcy Court
                                                                                                                  Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                                       Case No.
                                                                     Lucas, Linda Debra                                                                                           Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor children by
                                                                     stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of
                                                                     a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.


                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                   770.00 2007 income through 7/20/07

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                             two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                  6,000.00 2005 alimony
                                                                                  2,832.00 2005 IRA distributions
                                                                                 13,926.64 2005 L & I Benefits
                                                                                 13,926.64 2006 L & I Benefits
                                                                                  3,213.84 2007 L & I Benefits through 3/22/07




                                                                     STATEMENT OF FINANCIAL AFFAIRS


                                                                                  Case 07-42489-PBS                   Doc 1        Filed 08/06/07            Ent. 08/06/07 11:38:58                 Pg. 27 of 36
                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü debts to any creditor made within 90 days immediately preceding the commencement of this case if the aggregate value of all property that
                                                                        constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
                                                                             of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $5,475.
                                                                             (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                             bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     CAPTION OF SUIT                                                                        COURT OR AGENCY                          STATUS OR
                                                                     AND CASE NUMBER                             NATURE OF PROCEEDING                       AND LOCATION                             DISPOSITION
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                                                                     Discover Bank v. Debtor                     Debt collection                            Pierce County Superior Court             Judgment
                                                                     Case No 07-2-04745-5
                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
                                                                        include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                        unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü per
                                                                        gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                            recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     DESCRIPTION AND                                 DESCRIPTION OF CIRCUMSTANCES AND, IF LOSS WAS COVERED IN
                                                                     VALUE OF PROPERTY                               WHOLE OR IN PART BY INSURANCE, GIVE PARTICULARS                                        DATE OF LOSS
                                                                     Theft from house, received                                                                                                             2007
                                                                     $5,000.00 from insurance




                                                                     STATEMENT OF FINANCIAL AFFAIRS


                                                                                  Case 07-42489-PBS                    Doc 1        Filed 08/06/07             Ent. 08/06/07 11:38:58               Pg. 28 of 36
                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                       DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                         PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Hummingbird Credit Counseling                                     7/07                                                                    49.00
                                                                     3737 Glenwood Ave Ste 100-106
                                                                     Raleigh, NC 27612-5515

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                      ü      absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                             transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
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                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                                                                                       TYPE AND NUMBER OF ACCOUNT                     AMOUNT AND DATE OF SALE
                                                                     NAME AND ADDRESS OF INSTITUTION                                   AND AMOUNT OF FINAL BALANCE                    OR CLOSING
                                                                     Harborstone Credit Union                                          Checking & savings accounts                    Closed 4/07 due to identity theft
                                                                     PO Box 4207
                                                                     McChord Afb, WA 98438-0207

                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                        both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                        petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                             that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.
                                                                     ADDRESS                                                           NAME USED                                               DATES OF OCCUPANCY
                                                                     6022 S Junett                                                     Linda Lucas                                             2003 - 2005
                                                                     Tacoma, WA 98409

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                             Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.
                                                                     NAME



                                                                     STATEMENT OF FINANCIAL AFFAIRS


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                                                                     Randy Lucas

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.

                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü Environmental
                                                                        potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                                        Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
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                                                                      ü ofproprietor,
                                                                             all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                                      or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.

                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
                                                                      ü




                                                                     STATEMENT OF FINANCIAL AFFAIRS


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                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: August 6, 2007                       Signature /s/ Linda Debra Lucas
                                                                                                                of Debtor                                                                   Linda Debra Lucas

                                                                     Date:                                      Signature
                                                                                                                of Joint Debtor
                                                                                                                (if any)

                                                                                                                                  0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
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                                                                     STATEMENT OF FINANCIAL AFFAIRS


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                                                                                                                United States Bankruptcy Court
                                                                                                         Western District of Washington, Tacoma Division

                                                                     IN RE:                                                                                  Case No.
                                                                     Lucas, Linda Debra                                                                      Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: August 6, 2007                   Signature: /s/ Linda Debra Lucas
                                                                                                                         Linda Debra Lucas                                                       Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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                                                                     VERIFICATION OF CREDITOR MATRIX


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             ACE CASH EXPRESS
             PO BOX 650448
             DALLAS TX 75265-0448


             ACS
             PO BOX 7051
             UTICA NY 13504-7051


             ALLIANCE ONE
             1684 WOODLANDS DR STE 150
             MAUMEE OH 43537-4026


             AMERICAN EXPRESS
             PO BOX 5207
             FORT LAUDERDALE FL        33310-5207


             AMERICAN GENERAL FINANCE
             10202 PACIFIC AVE S STE 103
             TACOMA WA 98444-6573


             BANK OF AMERICA
             UNIT FRAUD
             PO BOX 53137
             PHOENIX AZ 85072-3137


             BANK OF AMERICA
             PO BOX 15286
             WILMINGTON DE 19886-5286


             BAY AREA CREDIT SERVICE LLC
             50 AIRPORT PKWY STE 100
             SAN JOSE CA 95110-3722


             CAPITAL RECOVERY
             PO BOX 67555
             HARRISBURG PA 17106-7555




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             CLEAR CHECK PAYMENT SOLUTIONS
             PO BOX 27087
             GREENVILLE SC 29616-2087


             COMMERCIAL CHECK CONTROL
             7250 BEVERLY BLVD STE 200
             LOS ANGELES CA 90036-2560


             COMMERCIAL CREDITORS
             PO BOX 5155
             TACOMA WA 98415-0155


             COST LESS PRESCRIPTIONS
             5431 PACIFIC AVE
             TACOMA WA 98408-7639


             DISCOVER
             C/O BISHOP WHITE & MARSHALL PS
             PO BOX 2186
             SEATTLE WA 98111-2186


             FIRST NATIONAL ASSOC
             PO BOX 81344
             CLEVELAND OH 44188-0001


             FRANCISCAN HEALTH SYSTEM
             PATIENT ACCOUNTING SERVICES
             PO BOX 2197
             TACOMA WA 98401-2197


             HARBORSTONE CREDIT UNION
             PO BOX 4207
             MCCHORD AFB WA 98438-0207




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             HARBORSTONE CREDIT UNION
             CARD PROCESSING CENTER FRAUD DIVISION
             250 JOHNSON RD
             MORRIS PLAINS NJ 07950-2926


             HOUSEHOLD CREDIT SERVICES
             PO BOX 80027
             SALINAS CA 93912-0027


             IRS
             PO BOX 21126
             PHILADELPHIA PA       19114-0326


             IRS
             915 SECOND AVE MS 244
             SEATTLE WA 98101


             KROGER CHECK RECOVERY
             PO BOX 30650
             SALT LAKE CITY UT 84130-0650


             LAKES ANESTHESIA
             PO BOX 64768
             TACOMA WA 98464-0768


             LES SCHWAB
             3809 STEILACOOM BLVD SW
             LAKEWOOD WA 98499-4551


             MACYS
             PO BOX 6938
             THE LAKES NV      88901-6938


             MONEY TREE
             PO BOX 523
             RICHFIELD OH      44286-0523




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             MULTICARE
             PO BOX 5299
             TACOMA WA 98415-0299


             NCO
             PO BOX 15270
             WILMINGTON DE      19850-5270


             PIERCE COUNTY ASSESSOR
             2401 S 35TH ST
             TACOMA WA 98409-7499


             PIERCE COUNTY BUDGET & FINANCE
             PO BOX 11621
             TACOMA WA 98411-6621


             PUGET SOUND PATHOLOGY
             PO BOX 34245
             SEATTLE WA 98124-1245


             QWEST
             PO BOX 91155
             SEATTLE WA 98111-9255


             SKO BREMMER AMERICAN INC
             PO BOX 230
             FARMINGDALE NY 11735-0230


             TRS RECOVERY DEPT
             PO BOX 4857
             HOUSTON TX 77210-4857




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